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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

D. AND D. MOUNTAIN AIR CLEANERS, INC.,

       Plaintiff,

vs.                                                                  No. 21-CV-00802 WJ/GJF


AMCO INSURANCE COMPANY, a NATIONWIDE
COMPANY, and LIBERTY MUTUAL INSURANCE
COMPANY/THE OHIO CASUALTY GROUP, UNITED
STATES FIDELITY AND GUARANTY COMPANY,
THE NORTHERN INSURANCE COMPANY OF NEW
YORK/ZURICH, and ARGONAUT INSURANCE COMPANY,

       Defendants.

      ORDER ON STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

       THIS MATTER, having come before the Court on Stipulated Motion for Dismissal with

Prejudice, and the Court being fully advised of the same, hereby finds that the Motion is well taken

and should be, AND HEREBY IS, GRANTED.

       THIS MATTER is dismissed with prejudice as against AMCO INSURANCE COMPANY,

a NATIONWIDE COMPANY, with the parties bearing their own costs and attorneys’ fees.




                                              HON. WILLIAM P. JOHNSON


Approved:

Juan L. Flores /s/
Attorneys for AMCO Insurance Company

Thomas M. Hnasko (April 4, 2022)
Thomas M. Hnasko
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Other:
Phillip H. Thompson (unable to contact to get position)
Attorney for the Northern Insurance Company of New York/Zurich




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